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                            IN THE UNITED           STATES       DISTRICT         COURT

                            FOR   THE      SOUTHERN DISTRICT OF               GEORGIA

                                               AUGUSTA DIVISION



UNITED STATES OF AMERICA,                             *


                                                      *                      CR    113-220
                                                      *


GILBERTO      FABONA GAONA.                           *




                                                   ORDER




        Defendant     has    filed         a     motion    for       reduction       of    sentence     under         18


U.S.C.    § 3582(c)(2)       on the basis that Amendment                          782 to the United States

Sentencing         Guidelines      has         revised         the   guidelines           applicable       to    drug

trafficking        offenses.           Even       though Amendment             782      became     effective          on

November      1,    2014,    no    defendant         may        be    released       on     the    basis    of    the

retroactive amendment before November 1,                             2015.       See U.S.S.G.        Amend.      788.

Thus,     the      Court    will       undertake           a     review      of      cases       involving       drug

trafficking        offenses       in       due    course.            If   Defendant        is     entitled       to    a

sentence      reduction       as       a    result        of    amendments         to      the    United     States


Sentencing Guidelines,             the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 445) is DEFERRED.1

        ORDER ENTERED at Augusta, Georgia, this                              //)£ft day of March, 2015.



                                                   HONORABLE J. RANDAL HALL
                                                          3D STATES DISTRICT              JUDGE
                                                   SOUTHERN DISTRICT OF GEORGIA




1       The   Court   DIRECTS      the      Clerk    to    TERMINATE       the     motion    for    administrative
purposes.
